   Case 6:18-cv-01659-MK Document 12                    C/v dPage
                                            Filed 12/26/18    Atfior.J 1 {,: !rt- cv-1t'59-SI
                                                                   1 ofND:
      FILED 26 DEC 18 09:19 USDC·ORE
                 7




                     AFFIDAVIT OF TRUTH

                                                                      Date:    1/1-18-18
    1- That in FACT Deputy Crisafulli Dominick hide his name for
all the ~ime I was in jail. Due to th~ FACT he was involved in
assault mentioned in complaint.

    2- That in FACT he did aviod me as much as he could,to hide
his guilt.

    3- That in FACT the other deputies refuse to tell me his name.

   4- That in FACT I had to fi~d his name trou~h Marion County =
Sheriffs web site.

    5- That in FACT there is is another woman who participate in
assault did the same as mentioned in paragraph #1 hide her name
but I will recognize her if I see her face. For that reason I will
place her name JHON DOE female deputy.

    That in FACT under penalty of perjury all FACTS are true                         &
correct to the best of my ability.


                                                     All Rights reserved

                                     Signature:.~~({.             ~rt:¥~ ....... .
 Oregon State County of Marion
                                            )~~               3)~clW\bif
       and sworn before me on this ....... Day of . . . . . . . . . . . . . . . . ,2O18.



          -Jk
Notary Public
                                                            OFFICIAL STAMP
                                                     MARICELA GONZALEZ MERINO
                                                       NOTARY PUBLIC - OREGON
                                                        COMMISSION NO. 969315

                 1~11..... .
                                           MY COMMISSION EXPIRES DECEMBER 1O, 2021
¥.~~~Fr:.\.~
My commission expires
